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                           IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

J. LEE,

          Plaintiff,
                                                                         No. 1:17-CV-01230-JB-LF
v.

THE BOARD OF REGENTS OF THE
UNIVERSITY OF NEW MEXICO, and
GARNETT S. STOKES, in her official capacity
as the President of the University of New Mexico,

          Defendants.

                                   JOINT STATUS REPORT AND
                                 PROVISIONAL DISCOVERY PLAN

                  Pursuant to FED. R. CIV. P. 26(f), a meeting was held telephonically on April 18,

2019, and was attended by:

          Arlyn G. Crow and Alana M. De Young, ADAMS+CROW LAW FIRM, for Plaintiff; and

          Quentin Smith, Sheehan & Sheehan, P.A., for Defendants.

                                       NATURE OF THE CASE

          Plaintiff, J. Lee, is a former graduate student of the University of New Mexico (“UNM”)

who was expelled from UNM for alleged sexual misconduct. Plaintiff brought suit in New Mexico

State Court for injunctive and declaratory relief under Article II, § 18 of the New Mexico

Constitution, the Fourteenth Amendment of the United States Constitution, 42 U.S.C. § 1983, as

well as the New Mexico Declaratory Judgment Act, NMSA 1978 § 44-6-1 et seq. and the federal

Declaratory Judgment Act, 28 U.S.C. § 2201, for alleged violations of his state and federal

constitutional rights.

                AMENDMENTS TO PLEADINGS AND JOINDER OF PARTIES
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       Plaintiff intends to file: None anticipated at this time.

       Plaintiff should be allowed until June 5, 2019 to move to amend the pleadings and until June

5, 2019 to join additional parties in compliance with the requirements of FED. R. CIV. P. 15(a).

       Defendant intends to file: None anticipated at this time.

       Defendants should be allowed until July 5, 2019 to move to amend the pleadings and until

July 5, 2019 to join additional parties in compliance with the requirements of FED. R. CIV. P. 15(a).

                                        STIPULATIONS

       The parties hereto stipulate and agree that venue is properly laid in this District; that the

United States District Court for the District of New Mexico has jurisdiction of the parties and the

subject matter.

       The parties are willing to further stipulate to the following facts: Any facts admitted in the

pleadings.

       The parties further stipulate and agree that the law governing this case is: 42 U.S.C. § 1983,

and federal caselaw regarding procedural due process.

                                 PLAINTIFF'S CONTENTIONS

       Plaintiff contends he has a protected property and liberty interest in his continued enrollment

at UNM and in his good reputation. For that reason, Defendant UNM was required to provide

Plaintiff with adequate due process prior to imposing any sanction for alleged misconduct. UNM,

however, failed to provide fair and adequate due process prior to Plaintiff’s expulsion from UNM.

Specifically, UNM failed to provide an evidentiary hearing, to include the cross-examination of

witnesses and presentation of evidence in his defense, applied the wrong evidentiary standard, and




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failed to provide Plaintiff with adequate notice that he faced sanctions relating to underage drinking

with sufficient time to prepare an adequate defense prior to a hearing.

       Not only did UNM fail to provide adequate due process, UNM’s only process for Plaintiff

was an “investigation” by UNM OEO, where the UNM investigators decided the scope and breadth

of that investigation, which witnesses to interview, the weight that should be given to any

information they gathered, and the credibility of the witnesses. Even though Plaintiff was never

given an opportunity to be privy to the investigative process, to rebut or counter the evidence, to

examine or otherwise question any witnesses (or even know the identity of all such witnesses), or to

present Plaintiff’s story in front of an impartial panel, UNM OEO made a probable cause

determination that Plaintiff violated Defendant UNM Policy. Because the process UNM afforded

was fundamentally unfair, it violated State and Federal due process laws, entitling Plaintiff to enjoin

UNM from taking such action.

                               DEFENDANTS’ CONTENTIONS

       Defendants deny the validity of Plaintiff’s claims for violation of due process as pled in her

Complaint for Injunctive and Declaratory Relief and Damages [Doc. 1-1]. Defendants incorporate

by reference the admissions, denials, and defenses set forth in Defendants’ Answer to Plaintiff’s

Complaint for Injunctive and Declaratory Relief and Damages [Doc. 43]. The process that led to

Plaintiff’s expulsion from UNM did not violate Plaintiff’s state or federal constitutional right to due

process. Plaintiff had sufficient notice of the charges against him and a meaningful opportunity to

respond to those charges. Plaintiff was not entitled to any greater procedural safeguards than he

received prior to his expulsion from UNM, especially in light of his own admissions to law

enforcement officers that established he had engaged in sexual misconduct. Defendants contend that



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the Court should ultimately find that Plaintiff received adequate due process and dismiss his

remaining claims for injunctive and declaratory relief.

                               PROVISIONAL DISCOVERY PLAN


       The parties jointly propose to the Court the following discovery plan:

A.     PLAINTIFF’S ANTICIPATED WITNESSES:

       1.       Plaintiff J. Lee
                c/o ADAMS+CROW LAW FIRM
                5051 Journal Center Blvd. NE, Suite 320
                Albuquerque, NM 87109
                (505) 582-2819

                Plaintiff is expected to testify regarding his allegations and claims in this lawsuit.

       2.       Laura Vele Buchs
                Former UNM EEO Compliance Specialist
                 c/o Sheehan & Sheehan, P.A.
                P.O. Box 271
                Albuquerque, NM 87103
                (505) 247-0411

                Ms. Vele Buchs is expected to testify regarding her participation in the investigation,
                UNM’s policies, procedures, and standards for conducting such investigations, her
                training on investigations and UNM’s policies and procedures, and her knowledge of
                any other issues raised by the Complaint.

       3.       Francie Cordova
                Director of UNM Office of Equal Opportunity
                c/o Sheehan & Sheehan, P.A.
                P.O. Box 271
                Albuquerque, NM 87103
                (505) 247-0411

                Ms. Cordova is expected to testify regarding her participation in the investigation,
                UNM’s policies, procedures, and standards for conducting such investigations, her
                training on investigations and UNM’s policies and procedures, and her knowledge of
                any other issues raised by the Complaint.

       4.       Heather Cowan
                Former UNM Title IX Coordinator

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         c/o Sheehan & Sheehan, P.A.
         P.O. Box 271
         Albuquerque, NM 87103
         (505) 247-0411

         Ms. Cowan is expected to testify regarding her participation the investigation,
         UNM’s policies, procedures, and standards for conducting such investigations, her
         training on investigations and UNM’s policies and procedures, and her knowledge of
         any other issues raised by the Complaint.

5.       Megan Chibanga
         UNM Resident Education Manager
         (Former UNM Student Conduct Officer)
         c/o Sheehan & Sheehan, P.A.
         P.O. Box 271
         Albuquerque, NM 87103
         (505) 247-0411
         Ms. Chibanga is expected to testify regarding the administrative hearing, UNM’s
         policies, procedures, and standards for student discipline, her training on all such
         policies and procedures, and her knowledge on any other issues raised by the
         Complaint.

6.       Defendant President Garnett S. Stokes
         UNM President
         c/o Sheehan & Sheehan, P.A.
         P.O. Box 271
         Albuquerque, NM 87103
         (505) 247-0411

         President Stokes may be called testify as to UNM’s policies and procedures,
         standards for conduct and discipline, standards for investigations, training for UNM
         OEO employees in investigations, policies and procedures, and her knowledge on
         any other issues raised by the Complaint.

7.       Individuals/witnesses identified in UNM’s investigation of the alleged misconduct.
         Contact information currently unknown

         The individuals identified in UNM’s investigation, including the unknown
         “witnesses” interviewed and/or identified by UNM in the investigation may be called
         to testify about the investigation and their knowledge of any other issues raised by
         the Complaint.

8.       Any other individuals identified in any documents prod7uce din discovery in this
         case.


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        9.       Any other individuals identified by Defendants.

        10.      Any other individuals identified in discovery.

        11.      Any rebuttal witnesses.

B.      PLAINTIFF’S ANTICIPATED EXHIBITS:

        1.       Correspondence to/from UNM and Plaintiff, including the FLD and the PLD.

        2.       Office of Equal Opportunity (“OEO”) Title IX Investigative File.

        3.       NM Policies and Procedures relating to student discipline, including the student

                 grievance procedure, code of conduct, OEO’s discrimination claims procedure, and

                 any other OEO and/or administrative policies and procedures applicable to this case.

        4.       Student Affairs File.

        5.       Any other exhibits identified by Defendants.

        6.       Any other exhibits identified in discovery.

        7.       Any rebuttal exhibits.

C.      PLAINTIFF’S ANTICIPATED EXPERTS:

        Plaintiff has not yet determined whether he will call any expert witnesses to testify in this

case.

D.      DEFENDANTS’ ANTICIPATED WITNESSES:

        1.       Plaintiff J. Lee
                 c/o Adams+Crow Law Firm
                 5051 Journal Center Blvd. NE, Suite 320
                 Albuquerque, NM 87109
                 (505) 582-2819

                 Plaintiff is expected to testify regarding his allegations and claims in this lawsuit.

        2.       Megan Chibanga
                 UNM Resident Education Manager
                 (Former UNM Student Conduct Officer)

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         c/o Sheehan & Sheehan, P.A.
         P.O. Box 271
         Albuquerque, NM 87103
         (505) 247-0411
         Ms. Chibanga is expected to testify regarding the administrative hearing that she
         presided over and her decision to expel Plaintiff for sexual misconduct, as well as
         UNM’s policies, procedures, and standards for student discipline.

3.       Francie Cordova
         Director of UNM Office of Equal Opportunity
         c/o Sheehan & Sheehan, P.A.
         P.O. Box 271
         Albuquerque, NM 87103
         (505) 247-0411

         Ms. Cordova is expected to testify regarding her participation in the Title IX
         investigation that led to Plaintiff’s referral to the Office of Dean of Students for
         sanctions, as well as UNM’s policies, procedures, and standards for conducting such
         investigations.

4.       Heather Cowan
         Former UNM Title IX Coordinator
         c/o Sheehan & Sheehan, P.A.
         P.O. Box 271
         Albuquerque, NM 87103
         (505) 247-0411

         Ms. Cowan is expected to testify regarding her participation in the Title IX
         investigation that led to Plaintiff’s referral to the Office of Dean of Students for
         sanctions, as well as UNM’s policies, procedures, and standards for conducting such
         investigations.

5.       Laura Vele Buchs
         Former UNM EEO Compliance Specialist
          c/o Sheehan & Sheehan, P.A.
         P.O. Box 271
         Albuquerque, NM 87103
         (505) 247-0411

         Ms. Vele Buchs is expected to testify regarding her participation in the Title IX
         investigation that led to Plaintiff’s referral to the Office of Dean of Students for
         sanctions, as well as UNM’s policies, procedures, and standards for conducting such
         investigations.

6.       Any other individuals identified by Plaintiff

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        7.       Any other individuals identified in discovery

        8.       Any rebuttal witnesses

E.      DEFENDANTS’ ANTICIPATED EXHIBITS:

        1.       Office of Equal Opportunity (“OEO”) Title IX Investigative File

        2.       OEO Policies and Procedures Related to Title IX Investigations

        3.       UNM Administrative Policies and Procedures Manual

        4.       Student Affairs File for J. Lee

        5.       Any other exhibits identified by Plaintiff

        6.       Any other exhibits identified in discovery

        7.       Any rebuttal exhibits

F.      DEFENDANTS’ ANTICIPATED EXPERTS:

        Defendants have not yet determined whether they will call any expert witnesses to testify in

this case.

        Discovery will be needed on the following subjects: Plaintiff’s claim for injunctive and

declaratory relief and Defendants’ defenses.

        Maximum of twenty-five (25) interrogatories by each party to any other party. (Responses

due thirty (30) days after service).

        Maximum of fifty (50) requests for admission by each party to any other party. (Responses

due thirty (30) days after service).

        Maximum of six (6) depositions by Plaintiff and six (6) depositions by Defendants.

        Each deposition (other than of Plaintiff and Rule 30(b)(6) deposition) limited to maximum

of four (4) hours, unless extended by agreement of parties.


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       Reports from retained experts under Rule 26(a)(2) due:

               from Plaintiff by July 5, 2019.

               from Defendants by August 5, 2019.

       Supplementation under Rule 26(e) due within fourteen (14) days of discovery of the need to

supplement.

       All discovery commenced in time to be complete by September 3, 2019.

                                      PRETRIAL MOTIONS

       Plaintiff intends to file:

       Defendant intends to file: Motion for Summary Judgment.

                                    ESTIMATED TRIAL TIME

       The parties estimate trial will require four (4) days.

         X     This is a non-jury case.

       ____    This is a jury case.

       The parties request a pretrial conference in November 2019.

                                          SETTLEMENT

       The possibility of settlement in this case is considered unlikely. The parties request a

settlement conference in October 2019 (if required by the Court).

                                          EXCEPTIONS

       None.

                                              APPROVED WITHOUT EXCEPTIONS:

                                              ADAMS+CROW LAW FIRM
                                              Attorneys for Plaintiff
                                              5051 Journal Center Blvd. NE, Suite 320
                                              Albuquerque, NM 87109
                                              (505) 582-2819

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                            Arlyn@adamscrow.com
                            Alana@adamscrow.com

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                                    Alana M. De Young

                            and

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                                    Quentin Smith
                                    Leah M. Stevens-Block


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